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                        IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 In Re:                                                Bankruptcy No. 22-13453-amc

 TANIA REYES,                                          Chapter 13

                Debtor,
                                                       Related to Doc. No. 53

 TANIA REYES

                Movant,

       v.

 LVNV FUNDING, LLC

                  Respondents.

              RESPONSE TO OBJECTION TO LVNV FUNDING LLC’S CLAIM #3

          AND NOW, comes Movant, LVNV Funding, LLC (the “LVNV”), by and through its

undersigned counsel, Bernstein-Burkley, P.C., and files this Response to the Debtor’s Objection

to Claim #3 (the “Response”), representing as follows:

   1. Admitted.

   2. Admitted.

   3. Denied. By the way of further response, LVNV has attached information as to the prior

          owner of the account, including but not limited to a Bill of Sale, Transfer and Assignment

          and Limited Power of Attorney. This account stems from a paypal account, which the

          original creditor was “Comenity Capital Bank”.

   4. Denied. By the way of further response, the last payment date and last transaction date is

          listed as November 24, 2018. Additionally, Debtor has filed multiple bankruptcies which

          has tolled the statute of limitations. A true and correct copy of the calculation of tolled

          statute of limitations is attached hereto as Exhibit A. Although the last payment date is in

          2018, due to the tolled statute of limitations, the claim is timely filed.
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   5. Admitted.

   6. Denied. By the way of further response, a “charge-off” date does not mean that it is not

       collectible it is simply an internal accounting principle and does not legally reflect

       collectability.

   7. Denied. By the way of further response, Debtor has filed multiple bankruptcies which has

       tolled the statute of limitations. A true and correct copy of the calculation of tolled statute

       of limitations is attached hereto as Exhibit A. Although the last payment date is in 2018,

       due to the tolled statute of limitations, the claim is timely filed.

   8. Denied. By the way of further response, see LVNV’s response to paragraph three (3) and

       four (4) above.

   9. Denied. By the way of further response, see LVNV’s response to paragraph three (3) and

       four (4) above. LVNV’s Clam No. 3 should govern in full as an unsecured claim.



       WHEREFORE, LVNV Funding, LLC respectfully requests that this Honorable Court

overrule Debtor’s objection to LVNV’s Claim No. 3 and allow it govern in full.


                                                       Respectfully submitted,

                                                       BERNSTEIN-BURKLEY, P.C.

                                                       By: /s/ Keri P. Ebeck
                                                       Keri P. Ebeck, Esq.
                                                       PA I.D. # 91298
                                                       kebeck@bernsteinlaw.com
                                                       601 Grant Street, 9th Floor
                                                       Pittsburgh, PA 15219
                                                       Phone (412) 456-8112
                                                       Fax: (412) 456-8135

                                                       Counsel for LVNV Funding, LLC

                                                       Dated: January 30, 2024
